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5
                       IN THE UNITED STATES DISTRICT COURT
6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8                                       )     Case No.: 2:12-cr-00198-MCE
     United States of America,          )
9                                       )     STIPULATION AND ORDER TO MODIFY
                Plaintiff,              )     CONDITIONS OF PRE_TRIAL RELEASE
10                                      )
          vs.                           )     Court:    Hon. Morrison C. England
11                                      )
                                        )
12   Marla Ortega,                      )
                                        )
13              Defendant
14

15

16        The parties request that the Court order the following
17   modification to Ms. Ortega’s pre-trial release conditions:
18   You shall participate in a program of medical or psychiatric
19   treatment, including treatment for drug or alcohol dependency, as
20   approved by the pre-trial services officer.       You shall pay all or part
21   of the costs of the counseling services based on your ability to pay,
22   as determined by the pre-trial services officer. Pre-trial services is
23   aware of, and in agreement with, this request.
24
     Dated: October 29, 2012           Respectfully submitted,
25

26
                                      __/s/ Shari Rusk___
27                                    Shari Rusk
                                      Attorney for Defendant
28                                    Marla Ortega




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1
                                                                   /s/ Michael Anderson
2
                                                                   Michael Anderson
3                                                                  Assistant United States Attorney

4

5                                                          ORDER

6

7                                   IT IS SO ORDERED.   The Court hereby orders Marla Ortega to

8    participate in counseling, as requested by pre-trial services.

9
     Dated:                            November 27, 2012
10
                                                              __________________________________
11
                                                              MORRISON C. ENGLAND, JR
12                                                            UNITED STATES DISTRICT JUDGE

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